                                 UNITED STATES DISTRICT COURT
 1                             FOR THE DISTRICT OF MASSACHUSETTS
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 3    PRESIDENT AND FELLOWS OF HARVARD                      Case No.: 1:25-cv-11048-ADB
      COLLEGE,
 4                        Plaintiffs,
 5           v.
 6    UNITED STATES DEPARTMENT OF
 7    HEALTH AND HUMAN SERVICES, et al.,

 8                       Defendants.

 9
                    MOTION FOR LEAVE TO FILE A BRIEF OF AMICUS CURIAE
10                       ON BEHALF OF A JEWISH VOICE FOR PEACE

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            In accordance with Local Rule 7.1(b)(3), proposed amicus curiae, A Jewish Voice for Peace
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     (“JVP”), respectfully requests leave to file the attached amicus brief in support of Plaintiff’s Motion
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     for Summary Judgment, Doc. 69, in the above captioned matter. In support of this motion, JVP states
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     as follows:
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     1. District courts have the “inherent authority and discretion” to accept and consider amicus briefs.
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        Bos. Gas Co. v. Century Indem. Co., No. CIVA 02.12062-RWZ, 2006 WL 1738312, at *1 (D.
17
        Mass June 21, 2006). Amicus briefs may “assist the court in cases of general public interest by
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        making suggestions to the court, by providing supplementary assistance to existing counsel, and by
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        insuring a complete and plenary presentation of difficult issues so that the court may reach a
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        proper decision.” Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 308
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        F.R.D. 39, 52 (D. Mass). Courts generally welcome “additional arguments from able amici that
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        will help the court toward the right answers.” Mass. Food Ass’n v. Mass. Alcoholic Beverages
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        Control Comm’n, 197 F.3d 560, 567 (1st Cir. 1999).
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     2. JVP submits the attached proposed amicus brief in this case to address two issues: (1) Defendants’
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        position that criticism of Israel or Zionism is antisemitic, and (2) that universities must remediate
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        antizionism by adopting the International Holocaust Remembrance Alliance’s (“IHRA”)
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        equivalence of antizionism and criticizing Israel with antisemitism.
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 1   3. JVP is one of the largest progressive Jewish organizations in the world. Made up of 720,000
 2      members and supporters with chapters in nearly every state, JVP represents an important, sizeable
 3      and vocal minority Jewish viewpoint. JVP has worked for over 25 years to mobilize Jewish
 4      communities to advocate for a just society in Palestine and Israel rooted in human rights rather
 5      than oppression, equality rather than supremacy, dignity rather than domination, democracy rather
 6      than dispossession.
 7   4. JVP’s proposed brief is necessary, relevant and important in this case because the Zionist
 8      movement and Israel purport to speak for and act on behalf of all Jews. As antizionist Jews who
 9      criticize Israel’s policies, JVP has a unique perspective and specific experience that can assist the
10      Court beyond what the parties can provide.
11   5. JVP has grave concerns that the Court will accept Defendants’ position that criticizing Israel and
12      opposing Zionism are antisemitic. JVP is further concerned the Court will find that antizionism
13      should properly be remediated by adopting the IHRA’s newly manufactured definition of
14      antisemitism to include antizionism or criticizing Israel. Should this Court accept Defendants’
15      position and the IHRA’s redefinition of antisemitism, the Court would be redefining the Jewish
16      faith, who is a Jew and what Jews must believe. This would force Jews to adopt Zionism as part of
17      their religious beliefs and prohibit criticizing Israel as a foundational Jewish religious principle.
18      Such a ruling would equate criticism of a political ideology and nation-state with hatred towards a
19      religious group. This would render antizionist Jews such as those in JVP as not being Jews at all
20      and dilute the protected classes that decades of precedent and lawmaking have defined.
21   6. The proposed brief, excluding the Table of Contents, Table of Authorities, Certification, and
22      Certificate, does not exceed ten pages in length.
23   7. Defendants do not object, and Plaintiffs take no position on the filing of this amicus brief.
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25      Wherefore, A Jewish Voice for Peace respectfully requests that this Court grant leave to file the
        attached amicus brief, along with attached declaration from its Executive Director, Stefanie Fox.
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     Dated: June 9, 2025   Respectfully submitted,
 1
                           /s/ Bina Ahmad
 2
                           Bina Ahmad*
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 1                                   LOCAL RULE 7.1 CERTIFICATION
 2          I hereby certify that counsel for proposed amicus curiae has conferred with counsel for the
 3   parties. No parties oppose the request for leave to file.
 4
     Dated: June 9, 2025                                          Respectfully submitted,
 5
                                                                  /s/ Bina Ahmad
 6                                                                Bina Ahmad*
                                                                  *Pro Hac Vice Pending
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 8                                                                __________________
 9                                                                Rachel Weber
                                                                  BBO# 674057
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11
12
13                                       CERTIFICATE OF SERVICE
14          I hereby certify that I filed the within document via the ECF system on this day of June 9, 2025
15   and that it is available for viewing and downloading to all counsel of record.
16
17   Dated: June 9, 2025                                          Respectfully submitted,
18                                                                /s/ Bina Ahmad
                                                                  Bina Ahmad*
19                                                                *Pro Hac Vice Pending
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21                                                                __________________
                                                                  Rachel Weber
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